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                                   UNITED STATES DISTRICT COURT
                                    MIDDLE- BJSTRICT .QF ALABAMA
                                        NORTHERN WILISION

                                        1CIE                        A       0.
  FRANK EDWIN PATE
  THOMAS BOWMAN                      r:-D--,,,, ,7, u r, r..!.,— — ..,-
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  DAVID WEBB                          . ,,--•,--'• L1,.: 1 ;-,,,,   ."•r"
                                              )r.; c- i,J ,-,-:—.:,
                                                              ,
  KEVIN FUSCO,


  VS
                                                                                      No: 18-cv-0839
                                                                                          18-cv-0840
                                                                                                    /
                                                                                          18-cv-0841
                                                                                          18-cv-0866
  PRESIDENT DONALD TRUMP, ET AL.,


                                   OBJECTIONS FOR THE RECORDS

 PETITIONERS, hereby enter the following objections to the records, of each
 related case:


        1) On 17 Otober 2018, Magistrate Coody, entered an order which addressed
 issues of law as to Petitioners docketed § 2241 Petitions;


        2) Magistrate Coody, stated that :"Despite [petitioners] argument to the
 contrary, applicable federal              law directs that the                           petition[s] should be
 construed as a motion to vacate, set aside, or correct sentence[s] under 28
 U.S.C. § 2255."


        3) Magistrate Coody is both factually and legally incorrect as to his
 line of legal direction(argument?), on multiple points of law:
        Accordinqly in Castro v United States, the Court held that "construing"
 was not advised, "(a) because of risk involved, a pleading never ought to be
 recharacterized a § 2255 motion


 further     relying   on    § 2255(a) this                 court does              NOT   hold jurisdiction   to
 "construe" a      § 2241 (Habeas          Corpus); this                         court is NOT the "sentencing
 court(s); Congressional intent as to a jurisdictional grant is clear:
        "A prisoner....mu move the court which imposed the sentence to vacate,
 set aside, or correct the sentence


 this     forum   is   NOT   the   "sentencing                court" forum; this              is   the "illegal
 detention" forum, of which § 2241 applies and gives jurisdiction to this
 court.
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 In furtherance, Petitioner(s) remind the court that the fact of record
 evidence shows the "sentencing court(s)H were not Hestablished by Act of
 Congress      H   and as such, Petitioners sole remedy lies with this court under
 § 2241. (see Exhibit A of Amended Petition)


 Congress requires a Habeas Corpus to be authorized; HAn application for a writ
 of Habeas corpus in behalf of a prisoner who is authorized to apply for relief
 by motion pursuant to this section               (§    2255)


 Petitioner(s) are NOT authorized to apply for "Habeas corpusH under § 2255
 due to the Hsentencing court(s)" lack of Article III, Federal Judicial Powers;
 having never been Hduly ordained or established" by way of a record "Act of
 Congress", then a § 2255 motion is "inadequate and ineffective to test the
 legality of his[their] detention[s]              H   (§    2255)


 Lacking in available/legal remedy thru the Hsentencing court(s)" °established
 by an Act of CongressH....this court thereby offers the only available lawful
forum to test the legality of Petitioner(s) detention(s).


 In summary of Paragraph 3):


     (A) this court does not have congressional authority to adjudicate a
"2255   motionH;     this   court   was    not        the   sentencing   court(s)   for   the
Petitioner(s), therfore this court holds no Jurisdiction over a § 2255 relief;


     (B) further, even if this court did HsentenceH the Petitioners (which
it did not), the Supreme Court states clearly HConstuing" Hpleadings ought
not to recharaterized..H(Castro)


     (C) the   erronious "sentencing        court(s)H         were never Constitutionally
"ordained or established" as mandated by the Constitutional grants under
Article 1, sec 7 cla 2 (Bicameralism) or Article III sec 2; Federal Judicial
powers over Cirminal process, do not exist in the "sentence court(s)H;


     (D) the Petitioners are NOT authorized to file for relief with a HCourt"
which was never lawfully extended Article III Judicial powers, as they have
never Hbeen established by Act of Congress....H(Art. III US Corst.)


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         (E) lacking access to a Congressionall.y legislated Federal Criminal Court
 of law, leaves petitioners with only (1) avenue/forum for relief; § 2241 in
 this court for the purpose of testing the legality of their detentions;


         4) Accordinqly,     a    judicial    officerrs    first     due     is    to    "uphold    the
 Constitution"(Screws v United States 325 US 91, 129-139) in support of this,
 Article VI of the U.S. Constitution states:
         "This Constitution, and the Laws of the United States which shall be made
 in Pursuance thereof            shall be the Supreme Law of the Land;"


 additionally:


 this courts "Judicial officers of the United States, shall be bound by Oath
 or Affirmation, to support this Constitution;"


 However, and sadly, if the court relies on Magistrate Coodys directions,
 Petitioner(s) Constitutional rights will be abroqated:
      "The writ of Habeas Corpus shall not be suspended                      "(Art.      I,   sec    9
 C1 2)


 Magistrate Coodys advisor.y would effectively abrogate Petitioners rights to
 Habeas    Corpus;   this   would    not     comport    with   the    holding       in    MIRANDA    v
 ARIZONA...." "When dealing with Constitutional protections, any legislation
 or rule of which abrogates a constitutional right, is VOID."


 Magistrate Coodys "construct" would do just that;(should this court apply it)


     5) In Title 50 U.S.C. § 841, Congress clearly identifies such behaviors:
     "Unlike     political       parties,     the      Communist     Party        acknowledges      no
Constitutional or statutory limitations upon its conduct or upon that of its
members."


most recently, Vice President Pence stated the following 4 October 2018:


     "The Chinese Communist Party is rewarding or coercing businesses, movie
studios, universities, think tanks, scholars, journalists, and local state
and federal officials.""
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       in    Plain    English,   Magistrate   Coodys   recommendations   put   him   in   the
       aformentioned behaviors category; knowingly or otherwise.


      This would be a perilous path for this court.


      Accordingly, Petitioners Respectfully OBJECT to all of the aforemnetioned
      errors in law being recommended(ORDERED) by Magistrate Coody.


      Petittioners request this court enter these OBJECTIONS for the appeals records
         and Rule or such OBJECTIONS.


      In closing, this is IN NO WAY to be DEEMED Petitioners "RESPONSES" to the
      ORDER in question.


      Submitted'this 20th day ofThatober 2018


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      Frank Edwin Pate

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